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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          X


 UNITED STATES OF AMERICA
                                                              SEALED INDICTMENT
                 -   V.   -
                                                              22 Cr.
 SAMUEL BANKMAN-FRIED,
       a/k/a "SBF,"

                 Defendant.

                                         -    -   -   -   X


                                 COUNT ONE
               {Conspiracy to Commit Wire Fraud on Customers)

        The Grand Jury Charges:

        1.      From at least in or about 2019, up to and including in

or about November 2022, in the Southern District of New York, and

elsewhere, SAMUEL BANKMAN-FRIED, a/k/ a "SBF," the defendant,                         and

others known and unknown,                    willfully and knowingly did combine,

conspire, confederate, and agree together and with each other to

commit wire fraud,              in violation of Title 18, United States Code,

Section 1343.

        2.      It was a part and object of the conspiracy that SAMUEL

BANKMAN-FRIED,            a/k/a "SBF," the defendant,              and others known and

unknown, knowingly having devised and intending to devise a scheme

and artifice to defraud, and for obtaining money and property by

means    of     false         and   fraudulent        pretenses,   representations,   and

promises, would and did transmit and cause to be transmitted by

means of wire, radio, and television communication in interstate
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and   foreign     commerce,   writings,     signs,   signals,    pictures,     and

sounds for the purpose of executing such scheme and artifice, in

violation of Title 18, United States Code, Section 1343, to wit,

BANKMAN-FRIED agreed with others to defraud customers of FTX.com

by misappropriating        those   customers'    deposits     and using      those

deposits to pay expenses and debts of Alameda Research, BANKMAN-

FRIED's proprietary crypto hedge fund, and to make investments.

              (Title 18, United -states Code, Section 1349.)

                                  COUNT TWO
                          (Wire Fraud on Customers)

      The Grand Jury further charges:

      3.      From at least in or about 2019, up to and including in

or about November 2022, in the Southern District of New York and

elsewhere,      SAMUEL   BANKMAN-FRIED,      a/k/a   "SBF,"     the   defendant,

knowingly having devised and intending to devise a                    scheme and

artifice to defraud, and for obtaining money and property by means

of false and fraudulent pretenses, representations and promises,

transmitted and caused to be transmitted by means of wire, radio,

and television communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, BANKMAN-FRIED, along

with others, engaged in a scheme to defraud customers of FTX.com

by misappropriating those customers'            deposits,     and using those




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deposits to pay expenses and debts of Alameda Research, BANKMAN-

FRIED's proprietary crypto hedge fund, and to make investments .

             (Title 18, United States Code, Sections 1343 and 2.)

                                 COUNT THREE
                 (Conspiracy to Commit Wire Fraud on Lenders}

        The Grand Jury further charges:

        4.      From at least in or about June 2022, up to and including

in or about November 2022, in the Southern District of New York,

and elsewhere, SAMUEL BANKMAN-FRIED, a/k / a "SBF," the defendant,

and others known and unknown, willfully and knowingly did combine,

conspire, confederate, and agree together and with each other to

commit wire fraud,          in violation of Title 18, United States Code,

Sections 1343.

        5.      It was a part and object of the conspiracy that SAMUEL

BANKMAN-FRIED,          a/k/a "SBF," the defendant,          and others known and

unknown, knowingly having devised and intending to devise a scheme

and artifice to defraud, and for obtaining money and property by

means    of     false    and   fraudulent       pretenses,   representations,    and

promises,       would and did transmit and cause to be transmitted by

means of wire, radio, and television communication in interstate

and   foreign      commerce,     writings,       signs,   signals,   pictures,   and

sounds for the purpose of executing such scheme and artifice,                     in

violation of Title 18, United States Code , Section 1343, to wit,

BANKMAN-FRIED agreed with others to defraud lenders to Alameda


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Research,     BANKMAN-FRIED's     proprietary       crypto    hedge        fund,   by

providing     false   and    misleading    information       to    those     lenders

regarding Alameda Research's financial condition.

              (Title 18, United States Code, Section 1349.)

                                  COUNT FOUR
                            (Wire Fraud on Lenders}

     The Grand Jury further charges:

     6.      From at least in or about 2019, up to and including in

or about November 2022, · in the Southern District of New York and

elsewhere,     SAMUEL    BANKMAN-FRIED,     a/k/a    "SBF,"       the   defendant,

knowingly having devised and intending to devise a                      scheme and

artifice to defraud, and for obtaining money and property by means

of false and fraudulent pretenses, representations and promises,

transmitted and caused to be transmitted by means of wire, radio,

and television communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, BANKMAN-FRIED, along

with others,     engaged in a scheme to defraud lenders to Alameda

Research,     BANKMAN-FRIED's     proprietary       crypto    hedge       fund,    by

providing     false   and    misleading    information       to   those      lenders

regarding Alameda Research's financial condition.

          (Title 18, United States Code, Sections 1343 .and 2.)




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                                 COUNT FIVE
                  {Conspiracy to Commit Commodities Fraud)

      The Grand Jury further charges:

      7.       From at least in or about 2019, up to and including in

or about November 2022, in the Southern District of New York, and

elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, and

others known and unknown,            willfully and knowingly did combine,

conspire, confederate, and agree together and with each other to

commit an offense against the United States, to wit, commodities

fraud, in violation of Title 7, United States Code, Sections 9(1)

and 13(a) (5), and Title 17, Code of Federal Regulations, Section

180 .1.

      8.       It was a part and an object of the conspiracy that SAMUEL

BANKMAN-FRIED,       a/k/a "SBF," the defendant,            and others known and

unknown,      willfully and knowingly,         would and did,         directly and

indirectly,      use and employ,        and attempt    to use and employ,        in

connection with a        swap,   a     contract of    sale of a       commodity in

interstate commerce, and for future delivery on and subject to the

rules of a registered entity, a manipulative and deceptive device

and contrivance,       in contravention of Title 17,               Code of Federal

Regulations,       Section    180.1,    by:   (a)   using    and   employing,   and

attempting to use and employ, a manipulative device, scheme, and

artifice to defraud;         (b) making, and attempting to make, an untrue

and misleading statement of a material fact and omitting to state


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a material fact necessary in order to make the statements made not

untrue and misleading; and (c) engaging, and attempting to engage

in an act, practice,               and course of business, which operated and

would operate as a fraud and deceit upon a person, in violation of

Title 7, United States Code, Sections 9 (1) and 13 (a) (5), to wit,

BANKMAN-FRIED agreed with others to defraud customers of FTX.com

trading or             intending   to   trade       swaps   by misappropriating        those

customers' deposits and using those deposits to pay expenses and

debts        of   Alameda     Research,      BANKMAN-FRIED' s      proprietary     crypto

hedge fund, and to make investments.

        9.        In    furtherance     of   the      conspiracy   and   to   effect     the

illegal object thereof, the following overt act, among others, was

committed in the Southern District of New York and elsewhere: in

or   about        June     2022,    SAMUEL      BANKMAN-FRIED,      a/k/a     "SBF,"     the

defendant, and others misappropriated FTX.com customer deposits in

order to,         among other things,           satisfy loan obligations owed by

Alameda Research.

                  (Title 18, United States Code, Section 371.)

                                       COUNT SIX
                        {Conspiracy to Commit Securities Fraud}

     The Grand Jury further charges:

     10.          From at least in or about May 2022, up to and including

in or about November 2022, in the Southern District of New York,

and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant,


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and others known and unknown, willfully and knowingly did combine,

conspire, confederate, and agree together and with each other to

commit an offense against the United States,                            to wit,      securities

fraud in violation of Title 15, United States Code, Sections 78j (b)

and       78ff,    and Title        17, . Code    of    Federal      Regulations,        Section

240.lOb-5.

          11.     It was a part and an object of the conspiracy that SAMUEL

BANKMAN-FRIED,            a/k/a "SBF," the defendant,                and others known and

unknown,          willfully     and    knowingly        would    and    did,     directly and

indirectly, by use of a means and instrumentality of interstate

commerce          and   of    the   mails,   and       of   a   facility       of   a   national

securities          exchange,       use   and     employ,       in   connection         with   the

purchase and sale of a security registered on a national securities

exchange and any security not so registered,                            a manipulative and

deceptive device and contrivance,                      in violation of Title 17, Code

of Federal Regulations,                Section 240.lOb-5,            by:   (a)      employing a

device,         scheme,      and artifice        to defraud;         (b) making an untrue

statement of material fact and omitting to state a material fact

necessary in order to make the statements made,                            in the light of

the circumstances under which they were made, not misleading; and

(c)   engaging in an act,              practice,        and course of business which

operated and would operate as a fraud and deceit upon a person, in

violation of Title 15,                United States Code,              Sections 78j(b)         and

7 8 ff,    to wit,      BANKMAN - FRIED agreed with others to engage in a

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scheme -to defraud investors             in FTX. com by providing false           and

misleading      information    to    those     investors    regarding     FTX. com' s

financial condition.

     12.      In   furtherance      of   the   conspiracy and    to     ef feet   the

illegal object thereof, the following overt act, among others, was

committed in the Southern District of New York and elsewhere: on

or about September 18,        2022,      SAMUEL BANKMAN-FRIED,        a/k/a "SBF,"

the defendant,       caused an email to be sent to an FTX investor in

New York,     New York that contained materially false                 information

about FTX's financial condition.

               (Title 18, United States Code, Section 371.)

                                 COUNT SEVEN
                   {Conspiracy to Commit Money Laundering)

     The Grand Jury further charges:

     13.      From at least in or about 2020, up to and including in

or about November 2022, in the Southern District of New York, and

elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, and

others known and unknown, intentionally and knowingly did combine,

conspire, confederate, and agree together and with each other to

violate Title 18,       United States Code,        Sections 1956 (a) (1) (B) (i)

and 1957(a).

     14.      It was a part and an object of the conspiracy that SAMUEL

BANKMAN-FRIED,      a/k/a "SBF," the defendant,            and others known and

unknown,     in an offense in and af fee ting interstate and foreign


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commerce,      knowing     that   the   property           involved    in    a     financial

transaction, to wit, one or more monetary transfers, represented

the proceeds of some form of unlawful activity,                         would and did

conduct and attempt to conduct such a financial transaction, which

in fact involved the proceeds of specified unlawful activity,                              to

wit,    the wire    fraud alleged in Count Two of                     this       Indictment,

knowing that the transaction was designed in whole and in part to

conceal and disguise the nature,                  the location,       the source,         the

ownership, and the control of the proceeds of specified unlawful

activity,      in violation of Title 18, United States Code, Section

1956 (a) (1) (B) (i).

        15.    It was a further part and an object of the conspiracy

that SAMUEL BANKMAN-FRIED, a / k / a "SBF," the defendant, and others

known    and    unknown,    within      the       United    States,    would        and   did

knowingly engage and attempt to engage in a monetary transaction

in criminally derived property of a value greater than $10,000 and

that was derived from specified unlawful activity,                           to wit,      the

wire fraud alleged in Count Two of this Indictment, in violation

of Title 18, United States Code, Section 1957(a).

                (Title 18, United States Code, Section 1956(h) .)




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                             COUNT EIGHT
      {Conspiracy to Defraud the United States and Violate the
                       Campaign Finance Laws)

      The Grand Jury further Charges:

      16.     From at least in or about 2020, up to and including in

or about November 2022, in the Southern District of New York, and

elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, and

others      known    and   unknown,     knowingly       did       combine,     conspire,

confederate, and agree together and with each other to defraud the

United States,        in violation of         Title    18,    United States           Code,

Section 371,        and willfully and knowingly did combine,                   conspire,

confederate,        and agree     together and with each other to commit

offenses against the United States by engaging in violations of

federal law involving the making,              receiving,          and reporting of a

contribution, donation, or expenditure, in violation of Title 52,

United States Code, Sections 30109(d) (1) (A)                 &    (D).

      17.     It was part and an object of the conspiracy that SAMUEL

BANKMAN-FRIED,       a/k/a "SBF," the defendant,              and others known and

unknown,     would and did defraud the United States,                     and an agency

thereof,     by     impairing,    obstructing,        and    defeating       the   lawful

functions of a department and agency of the United States through

deceitful      and    dishonest    means,     to   wit,      the     Federal   Election

Commission's function to administer federal law concerning source

and   amount      restrictions     in   federal       elections,          including     the

prohibitions applicable           to corporate        contributions and conduit

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contributions,      in violation of        Title   18,   United     States    Code,

Section 371.

      18.   It was a further part and object of the conspiracy that

SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, and others known

and   unknown,      would    and   did knowingly         and   willfully       make

contributions to candidates for federal office, joint fundraising

committees, and independent expenditure committees in the names of

other persons, aggregating to $25,000 and more in a calendar year,

in violation of Title 52, United States Code, Sections 30122 and

30109 (d) (1) (A)   & (D).

      19.   It was a further part and object of the conspiracy that

SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, and others known

and   unknown,      would    and   did knowingly         and   willfully       make

contributions       to   candidates   for     federal      office     and     joint

fundraising committees by a corporation,             aggregating to $25,000

and more in a       calendar year,    in violation of Title 52,              United

States Code, Sections 30118 and 30109 (d) (1) (A) .




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       20.     In     furtherance      of    the    conspira.cy and        to    effect    the

illegal objects thereof,             the following overt act,               among others,

was committed in the Southern District of New York and elsewhere:

in or about 2022, SAMUEL BANKMAN-FRIED a/k/a "SBF," the defendant,

and one or more other conspirators agreed to and did make corporate

contributions          to    candidates       and     committees      in    the      Southern

District of New York that were reported in the name of another

person.

                (Title 18, United States Code, Section 371.)

                                FORFEITURE ALLEGATIONS

       21.     As a result of committing the offenses alleged in Counts

One,   Two,     Three,       and Four of       this    Indictment,     SAMUEL BANKMAN-

FRIED,    a/k/ a      "SBF,"   the defendant,         shall forfeit to the United

States,        pursuant         to     Title        18,     United         States       Code,

Section 981 (a) (1) (C)          and        Title     28     United        States       Code, .

Section 2461 (c),           any and all property,          real and personal,             that

constitutes or is derived from proceeds traceable to the commission

of said offenses, including but not limited to a sum of mon~y in

United       States     currency       representing        the   amount         of   proceeds

traceable to the commission of said offenses.

       22.    As a result of committing the offense alleged in Count

Seven of this Indictment, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 982(a) (1), any and all property,

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real   and personal,          involved   in    said offense,      or    any property

traceable to such property, including but not limited to a sum of

money in United States currency representing the amount of property

involved in said offense.

       23.    If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:                      (a)    cannot be

located      upon    the   exercise      of    due   diligence;        (b)    has   been

transferred or sold to, or deposited with, a third person;                      (c) has

been placed beyond the           jurisdiction of the Court;             (d)   has been

substantially diminished in value; or (e) has been commingled with

other property which cannot be subdivided without difficulty; · it

is the intent of the United States, pursuant to Title 21, United

States Code,        Section     853(p)   and Title 28,     United States Code,

Section 246l(c), to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

               (Title 18, United States Code, Section 982;
             Title 21, United States Code, Section 853; and
              Title 28, United States Code, Section 2461.)




FOREPERSON                                     DAMIAN WILLIAMS
                                               United States Attorney




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          Form No. USA-33s-274         (Ed. 9-25-58)


              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                          -   V.   -


                 SAMUEL BANKMAN-FRIED,
                     a/k/a "SBF,"

                        Defendant.


                    SEALED INDICTMENT

                       22 Cr.

         (Title 7, United States Code, Sections
         9 (1) and 13 (a) (5); Title 17, Code of
      Federal Regulations, Section 180.1; Title
     15, United States Code, Sections 78j (b) and
             78ff; Title 17, Code of Federal
      Regulations, Section 240.l0b-5; Title 18,
       United States Code, Sections 371, 1343,
        1349, 1956, and 1957; Title 52, United
        States Code, Sections 30118, 30122 and
                  30109 (d) (1) (A) & (D).)


                    DAMIAN WILLIAMS
                 United States Attorney


                       A TRUE BILL
